
The Court of Appeals of Maryland, having considered the Joint Petition for Disbarment by Consent filed by Petitioner, the Attorney Grievance Commission of Maryland, and Respondent, Joseph Ignatius Tivvis, Jr., it is this 20th day of April, 2017;
ORDERED, that Joseph Ignatius Tivvis, Jr., be, and he is hereby, disbarred, effective immediately, from the further practice of law in the State of Maryland for violating Maryland Lawyers' Rules of Professional Conduct 1.4, 1.15, 1.16(a) and (d), 8.1(b) and 8.4(b) and (c); and it is further
ORDERED, that the Clerk of this Court shall strike the name of Joseph Ignatius Tivvis, Jr., from the register of attorneys, and pursuant to Maryland Rule 19-761, shall certify the fact to the Trustees of the Client Protection Fund and the clerks of all judicial tribunals in the State.
